Case 2:23-cv-02224-MSN-atc Document 102 Filed 08/25/23 Page 1 of 7          PageID 893




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                    WESTERN DIVISION


  ROW VAUGHN WELLS, INDIVIDUALLY               )
  AND AS ADMINISTRATRIX OF THE                 )
  ESTATE OF TYRE DEANDRE NICHOLS,              )
  DECEASED,                                    )
                                               )
           Plaintiffs,                         )
                                               )
  v.                                           )   CASE NO. 2:23-CV-02224
                                               )   JURY DEMAND
  THE CITY OF MEMPHIS, A                       )
  MUNICIPALITY; CHIEF CERELYN DAVIS,           )
  IN HER OFFICIAL CAPACITY; EMMITT             )
  MARTIN III, IN HIS INDIVIDUAL                )
  CAPACITY; DEMETRIUS HALEY, IN HIS            )
  INDIVIDUAL CAPACITY; JUSTIN SMITH,           )
  IN HIS INDIVIDUAL CAPACITY;                  )
  DESMOND MILLS, JR. IN HIS INDIVIDUAL         )
  CAPACITY; TADARRIUS BEAN, IN HIS             )
  INDIVIDUAL CAPACITY; PRESTON                 )
  HEMPHILL, IN HIS INDIVIDUAL                  )
  CAPACITY; ROBERT LONG, IN HIS                )
  INDIVIDUAL CAPACITY; JAMICHAEL               )
  SANDRIDGE, IN HIS INDIVIDUAL                 )
  CAPACITY; MICHELLE WHITAKER, IN              )
  HER INDIVIDUAL CAPACITY; DEWAYNE             )
  SMITH, IN HIS INDIVIDUAL CAPACITY            )
  AND AS AGENT OF THE CITY OF                  )
  MEMPHIS,
                                               )
           Defendants.                         )


          REPLY IN SUPPORT OF MOTION TO STRIKE ALLEGATIONS IN THE
                                COMPLAINT




                                           1

 4861-6553-6890
Case 2:23-cv-02224-MSN-atc Document 102 Filed 08/25/23 Page 2 of 7                       PageID 894




          Defendants the City of Memphis (“the City”) and Chief Cerelyn Davis in her Official

 Capacity (“Chief Davis”) submit this Reply in Support of their Motion to Strike Allegations

 from Plaintiff’s Complaint for Damages. (ECF No. 81.)

 I.       The RED DOG Allegations are Immaterial to the Deliberate Indifference Element
          of Monell Liability
          Plaintiff’s allegations regarding Atlanta Police Department’s now-disbanded “Run Every

 Drug Dealer Out of Georgia” unit (“RED DOG”) do not support any of the claims against the

 City. They are, therefore, immaterial, and should be stricken. See Llewellyn-Jones v. Metro Prop.

 Grp., LLC, 22 F. Supp. 3d 760, 777 (E.D. Mich. 2014) (striking specific allegations as

 immaterial and noting that none of the “claim[s] for relief depend on the [those] allegations...”).

          Plaintiff includes the RED DOG allegations in an attempt to bolster Plaintiff’s Monell

 claims against the City. Plaintiff explains:

          The passages concerning the [Atlanta Police Department] and RED DOG are both
          material and relevant because they serve to achieve a better understanding of
          Plaintiff’s case….Simply put, they make it more likely that the City and Chief
          Davis were aware and able to predict the consequences of their policies, practices,
          and failures; therefore making it more likely they were deliberately indifferent.”

 (Response to Mot. to Strike, ECF No. 93, PageID 790-91.)

          But that it is not how deliberate indifference works in Monell claims. For example, to

 establish Monell liability under Plaintiff’s “custom of tolerance” claim, deliberate indifference is

 not, as Plaintiff asserts, whether the City and Chief Davis were aware of and able to predict the

 consequences of SCORPION because of Chief Davis’s prior experience with the RED DOG

 unit. (ECF No. 93, PageID 791-92). The City’s “deliberate indifference” can only be established

 by pleading and proving the City’s tacit approval of a clear and persistent patter of

 unconstitutional conduct by the City’s employees—and, of which the City had notice—such that

 the City’s failure to act in response can be said to amount to an official policy of inaction. See

                                                  2

 4861-6553-6890
Case 2:23-cv-02224-MSN-atc Document 102 Filed 08/25/23 Page 3 of 7                         PageID 895




 Wallace v. Coffee Cnty., Tennessee, 852 F. App'x 871, 876 (6th Cir. 2021). In other words, the

 relevant inquiry for deliberate indifference is whether the City was deliberately indifferent to the

 City’s employees’ unlawful actions and conduct—and it is not whether the City was

 deliberately indifferent to the conduct of Chief Davis’s former employer’s employees.

          The same analysis applies to Plaintiff’s failure-to-train and failure-to-supervise claims.

 Plaintiff cannot establish the City’s deliberate indifference by alleging that the City and Chief

 Davis knew about the prior transgressions of Atlanta’s RED DOG Unit. For failure-to-

 train/failure to supervise claims under Monell, the “[P]laintiff must ‘show prior instances of

 unconstitutional conduct demonstrating that the [City] has ignored a history of abuse and was

 clearly on notice that the training in this particular area was deficient and likely to cause injury,”

 Griham v. City of Memphis, Tennessee, No. 2:21-CV-02506-MSN, 2022 WL 989175, at *2

 (W.D. Tenn. Mar. 31, 2022). To be clear, Plaintiff must show a history of abuse by the

 Memphis Police Department to establish these claims, not a history of abuse by the Atlanta

 Police Department. See id. at *6.

          Because Plaintiff’s claims are not supported by the allegations related to RED DOG, they

 are, therefore, immaterial and should be stricken.

 II.      The RED DOG Unit Allegations Should Be Stricken Because They Confuse the
          Issues.
          Plaintiff conflates the patterns and practices of Atlanta’s RED DOG Unit with MPD’s

 SCORPION unit through the RED DOG allegations in the Complaint. This conflation leads to

 confusion, and the RED DOG allegations should be stricken for that reason, as well. See, e.g.,

 Oram v. SoulCycle LLC, 979 F. Supp. 2d 498, 512 (S.D.N.Y. 2013) (striking allegations as

 “unnecessary and inappropriate statements prejudicial to Defendants in that as a pleading, the

 [complaint] may be reviewed by the jury at the trial of this matter”).

                                                    3

 4861-6553-6890
Case 2:23-cv-02224-MSN-atc Document 102 Filed 08/25/23 Page 4 of 7                      PageID 896




          A review of some of the RED DOG allegations illustrates this confusion. Plaintiff alleges

 the following regarding RED DOG Unit:

          63. RED DOG officers’ testimony established that they were encouraged by
          supervisors to engage in searches and seizures when there was no basis to do so in
          violation of the Fourth Amendment.

          64. RED DOG officer testimony established that officers were encouraged by
          supervisors to omit written reports if they engaged in searches but found no drugs
          or weapons to maintain a stronger “hit” rate on their stops.

          65. RED DOG officers were “told to get the job done, by whatever means”
          necessary.

 (Compl., ¶¶ 63-65 (emphasis added).) 1

          Plaintiff then leaps to the following accusations against Chief Davis and SCORPION,

 which are essentially the same as the allegations regarding the RED DOG Unit:

          81. Chief Davis instructed SCORPION Officers to focus on an all-out strategy of
          seizing property from Memphis citizens in complete disregard of the United States
          Constitution and the Fourth Amendment.

          82. Much like the RED DOG Unit’s mandates to stop crime at any cost, Chief Davis
          instructed the SCORPION Unit and advocated to stop citizens and deprive them of
          their property unconstitutionally: “Take the car...Even if the case gets dropped in
          court.”
          …
          88. Much like the RED DOG Unit, SCORPION Unit officers were encouraged by
          the Chief of Police and supervisors to engage in searches and seizures when there
          was no basis to do so in violation of the Fourth Amendment.

          89. Much like the RED DOG Unit, SCORPION Unit officers were encouraged by
          the Chief of Police and supervisors to omit written reports if they engaged in
          searches but found no drugs or weapons to maintain a stronger “hit” rate on their
          stops.

 (Compl., ¶¶ 81-82, 88-89 (emphasis added).)



 1
  Notably, Plaintiff does not allege that Chief Davis was the person encouraging the RED DOG
 officers to engage in unconstitutional searches and seizures, or that it was Chief Davis who
 encouraged RED DOG officers to omit written reports.

                                                  4

 4861-6553-6890
Case 2:23-cv-02224-MSN-atc Document 102 Filed 08/25/23 Page 5 of 7                        PageID 897




          With the RED DOG allegations, Plaintiff seeks to impute the conduct of the RED DOG

 unit onto the SCORPION unit and ultimately onto Chief Davis, with no basis for doing so. 2

 This will be confusing to the jury, and the Court should strike the RED DOG allegations for that

 additional reason.

 III.     The Red Dog Unit Allegations Are Scandalous and Highly Prejudicial.
          Contrary to Plaintiff’s assertion, the RED DOG Unit material is extremely scandalous

 and should be stricken. See Oram v. SoulCycle LLC, 979 F. Supp. 2d 498, 511 (S.D.N.Y. 2013)

 (“Scandalous allegations ... will often be stricken from the pleadings in order to purge the court's

 files and protect the subject of the allegations.”) (citations omitted).

           Plaintiff contends that the Court may only strike allegations where the allegations relate

 to an individual’s personal life. (Response, ECF No. 93, PageID 794.) Not so. See, e.g.,

 Schlosser v. Univ. of Tennessee, No. 3:12-CV-534, 2014 WL 5325350, at *4 (E.D. Tenn. Oct.

 20, 2014) (striking an allegation that constituted an attempt to create a scandal around Coach

 Summitt where none existed, and one which was wholly irrelevant to the Plaintiffs' claims.) In

 fact, under Rule 12(f) “scandalous” refers to any allegation that unnecessarily reflects on

 moral character of an individual. Llewellyn-Jones v. Metro Prop. Grp., LLC, 22 F. Supp. 3d

 760 (E.D. Mich. 2014); see also McKinney v. Bayer Corp., No. 10-CV-224, 2010 WL 2756915,

 at *1 (N.D. Ohio July 12, 2010) (citing In re 2TheMart.com, Inc. Sec. Litig., 114 F.Supp.2d 955,

 965 (C.D. Cal. 2000) (“‘Scandalous’ includes allegations that cast a cruelly derogatory light on a

 party or other person.”)).

          Plaintiff’s allegations regarding the RED DOG unit most certainly reflect negatively on



 2
  The SCORPION Unit predated Chief Davis. It was formerly known as the Criminal
 Apprehension Team (“CAT Team”), which has existed in MPD since 2006. The CAT Team was
 simply rebranded under Chief Davis.
                                             5

 4861-6553-6890
Case 2:23-cv-02224-MSN-atc Document 102 Filed 08/25/23 Page 6 of 7                          PageID 898




 Chief Davis’s moral character and cast her in a cruelly derogatory light. Plaintiff alleges:

           Like its Atlanta-predecessor in the RED DOG Unit, the SCORPION Unit would
           instill the same tactics as dictated by the two individuals intimately familiar with
           both: Chief Davis and Assistant Chief Jones. (Compl., ¶ 94);

           Much like the RED DOG Unit’s mandates to stop crime at any cost, Chief Davis
           instructed the SCORPION Unit and advocated to stop citizens and deprive them of
           their property unconstitutionally… (Compl., ¶ 82);

           Much like the RED DOG Unit, SCORPION Unit officers were encouraged by the
           Chief of Police and supervisors to engage in searches and seizures when there was
           no basis to do so in violation of the Fourth Amendment. (Compl., ¶ 88);

           These allegations impugn Chief Davis’s integrity as a human being, a police officer, and

 as the head of a police department. And without Chief Davis’s tenuous connection to RED DOG,

 Plaintiff would have literally no basis for making such scandalous allegations against Chief

 Davis.

           Moreover, the prejudicial nature of the RED DOG allegations outweighs any potential

 relevance especially in this highly publicized litigation. See, e.g., Brashier v. Manorhouse

 Mgmt., Inc., No. 3:20-CV-294-CLC-HBG, 2020 WL 12846638, at *2 (E.D. Tenn. Sept. 18,

 2020) (“Scandalous allegations that improperly cast a derogatory light on a party will be

 stricken, especially if they are immaterial or irrelevant, or ‘may cause the objecting party

 prejudice.’”) (quoting Talbot v. Robert Matthews Distrib. Co., 961 F.2d 654, 664 (7th Cir.

 1992)).

 IV.       CONCLUSION
           Accordingly, the City respectfully asks the Court to exercise its discretion and strike all

 allegations related to the RED DOG Unit in the Complaint (ECF No. 1): Paragraphs 3 and 4 of

 the unenumerated Preliminary Statement, Paragraphs 50 through 68, Paragraphs 78 through 79,

 Paragraph 82, Paragraphs 87 through 89, and Paragraph 94.


                                                     6

 4861-6553-6890
Case 2:23-cv-02224-MSN-atc Document 102 Filed 08/25/23 Page 7 of 7                      PageID 899




                                                       Respectfully submitted,

                                                       BAKER, DONELSON, BEARMAN,
                                                       CALDWELL & BERKOWITZ, P.C.


                                                       s/ Bruce McMullen
                                                       Bruce McMullen (#18126)
                                                       Jennie Vee Silk (#35319)
                                                       Freeman B. Foster (#23265)
                                                       165 Madison Avenue, Suite 2000
                                                       Memphis, Tennessee 38103
                                                       Telephone: (901) 526-2000
                                                       bmcmullen@bakerdonelson.com
                                                       jsilk@bakerdonelson.com
                                                       ffoster@bakerdonelson.com

                                                       Attorneys for Defendant City of Memphis,
                                                       Chief Cerelyn Davis in her Official
                                                       Capacity, and Dewayne Smith as Agent of
                                                       the City of Memphis



                                  CERTIFICATE OF SERVICE

          I, Bruce McMullen, hereby certify that on August 25, 2023, I electronically filed the

 foregoing with the clerk of the court by using the CM/ECF system, and that upon filing, such

 system will serve a copy of the foregoing upon all counsel of record in this action.


                                                       s/ Bruce McMullen




                                                  7

 4861-6553-6890
